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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:11 CR 00096 JAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   IRMA GONZALEZ,                                      DATE: April 28, 2015
                                                         TIME: 9:15 a.m.
15                                Defendant.             COURT: Hon. John A. Mendez
16

17                                               STIPULATION

18          1.      By previous order, this matter was set for status on April 28, 2015.

19          2.      By this stipulation, defendants now move to continue the status conference until June 2,

20 2015 at 9:15 a.m., and to exclude time between April 28, 2015, and June 2, 2015 at 9:15 a.m., under

21 Local Code T4.

22          3.      The parties agree and stipulate, and request that the Court find the following:

23                  a)     The government has represented that the discovery associated with this case

24          includes hundreds of pages of written reports, three data-intensive wiretap discs, and dozens of

25          images. All of this discovery has been either produced directly to counsel and/or made available

26          for inspection and copying.

27                  b)     Counsel for defendants desire additional time to consult with their respective

28          clients, review the evidence, and weigh the possibility of settlement.


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 1                  c)     Counsel for defendants believe that failure to grant the above-requested

 2          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3          into account the exercise of due diligence.

 4                  d)     The government does not object to the continuance.

 5                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of April 28, 2015 to June 2, 2015 at

10          9:15 a.m., inclusive, is deemed excludable pursuant to excluded under 18 U.S.C. sections

11          3161(h)(7)(A) and (B)(iv), corresponding to Local Code T4 (reasonable time for defense counsel

12          to prepare), because it results from a continuance granted by the Court at defendants’ request on

13          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

14          best interest of the public and the defendant in a speedy trial.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19
     Dated: April 23, 2015                                    BENJAMIN B. WAGNER
20                                                            United States Attorney
21
                                                              /s/ PAUL A. HEMESATH
22                                                            PAUL A. HEMESATH
                                                              Assistant United States Attorney
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25 Dated: April 23, 2015                                      /s/ Donald Masuda
                                                              Donald Masuda
26
                                                              Counsel for Defendant IRMA GONZALEZ
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 1

 2                                       FINDINGS AND ORDER

 3        IT IS SO FOUND AND ORDERED this 23rd day of April, 2015.

 4
                                                   /s/ John A. Mendez
 5                                             THE HONORABLE JOHN A. MENDEZ
                                               UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION RE: SPEEDY TRIAL ACT;           3
     [PROPOSED] FINDINGS AND ORDER
